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                                   5                                  UNITED STATES DISTRICT COURT

                                   6                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   8    CHARLES W. LOGAN,                                   CASE NO. 17-cv-03031-YGR
                                   9                    Plaintiff,                          ORDER ADOPTING REPORT AND
                                                                                            RECOMMENDATION TO DISMISS CASE
                                  10              vs.                                       WITHOUT PREJUDICE, DENYING MOTION
                                                                                            TO CHANGE VENUE, DISMISSING CASE
                                  11    STATE FARM,                                         WITHOUT PREJUDICE
                                  12                    Defendant.                          Re: Dkt. Nos. 14, 16
Northern District of California
 United States District Court




                                  13          The Court has reviewed Magistrate Judge Kandis A. Westmore’s Report and

                                  14   Recommendation Recommending Dismissal of Action for Failure to Prosecute (Dkt. No. 14),

                                  15   issued December 6, 2017. No objection was filed to the Report and Recommendation, however

                                  16   plaintiff Charles W. Logan filed a Motion to Change Venue (Dkt. No. 16) on December 22, 2017.1

                                  17          The Court finds the Report and Recommendation correct, well-reasoned, and thorough,
                                       and adopts it in every respect. Plaintiff Charles W. Logan has filed two complaints which failed to
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                                       set forth facts and legal theories to state a claim on which relief may be granted, which were
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                                       dismissed with leave to amend pursuant to 28 U.S.C. section 1915(e)(2). (Dkt. Nos. 9, 12.)
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                                       Plaintiff was given an additional opportunity to file an amended complaint by no later than
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                                       October 6, 2017, and did not do so, either by that deadline or thereafter. Further, plaintiff did not
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                                       respond to an Order to Show Cause Re: Dismissal for failure to prosecute, which required a
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                                       response by November 3, 2017. (Dkt. No. 13.)
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                                              Plaintiff’s motion to change venue does not cure the deficiencies in his complaint, nor
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                                       does it seek leave to amend the complaint or set forth cognizable claims. While plaintiff’s motion
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                                                Plaintiff also subsequently filed an appeal which stayed consideration of action herein
                                       until such time as it was dismissed for lack of jurisdiction on May 23, 2018. (See Order in Ninth
                                  28
                                       Circuit Court of Appeal Case No. 18-15017, at Dkt. No. 19 herein.)
                                   1   contends that he has injuries arising from the conduct of officers and employees of the federal

                                   2   judiciary, plaintiff does not state what those injuries are or name a defendant other than State

                                   3   Farm, a private insurance company. In addition, plaintiff’s motion does not request that the venue

                                   4   of this action be changed to any other, nor does it state a factual basis for such a change of venue.
                                              Accordingly, and for the reasons set forth in the Report and herein:
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                                              1. the Report and Recommendation (Dkt. No. 14) to dismiss the amended complaint
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                                       without prejudice is ADOPTED in full.
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                                              2. the motion to change venue (Dkt. No. 16) is DENIED;
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                                              3. the action herein is DISMISSED WITHOUT PREJUDICE for failure to prosecute due to
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                                       plaintiff’s failure to file a second amended complaint.
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                                              This Order terminates the case. The Clerk shall close the file.
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                                              IT IS SO ORDERED.
                                  12
Northern District of California




                                       Dated: May 31, 2018
 United States District Court




                                  13                                                              YVONNE GONZALEZ ROGERS
                                                                                             UNITED STATES DISTRICT COURT JUDGE
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